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                                           6                              IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                          10   ABDUL ALANI,
For the Northern District of California




                                          11                 Plaintiff,                                 No. C 10-02766 WHA
    United States District Court




                                          12     v.
                                          13   ALASKA AIRLINES, INC.,                                   JUDGMENT
                                               CORPORATE DOES 1–20, and
                                          14   INDIVIDUAL DOES 21–40, inclusive,
                                          15                 Defendants.
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                                          17          For the reasons stated in the accompanying order granting defendant’s motion for

                                          18   summary judgment, FINAL JUDGMENT IS HEREBY ENTERED in favor of defendant and against

                                          19   plaintiff. The Clerk SHALL CLOSE THE FILE.

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                                          21          IT IS SO ORDERED.

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                                          23   Dated: December 13, 2011.
                                                                                                  WILLIAM ALSUP
                                          24                                                      UNITED STATES DISTRICT JUDGE
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